Case 2:22-cv-12951-MAG-JJCG ECF No. 45, PageID.746 Filed 05/03/23 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
JILL BABCOCK, et al.,                           Case No. 22-cv-12951
                                                Hon. Mark A. Goldsmith
       Plaintiffs,

v

STATE OF MICHIGAN, et al.,

      Defendants.
______________________________________________________________________________

 LAW FOR BABY BOOMERS PLLC                    THE MILLER LAW FIRM, P.C.
 Michael W. Bartnik (P32534)                  Melvin B. Hollowell (P37834)
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 (517) 292-0067
 elizabeth@abdnour.com
 Attorneys for Plaintiff
______________________________________________________________________________


                        APPEARANCE OF ANGELA L. BALDWIN

       PLEASE TAKE NOTICE that Angela L. Baldwin of The Miller Law Firm, P.C. hereby

enters her Appearance on behalf of Defendant, Wayne County, in the above-captioned matter.

Please serve all notices, copies of pleadings, papers and other relevant materials upon the

undersigned.
Case 2:22-cv-12951-MAG-JJCG ECF No. 45, PageID.747 Filed 05/03/23 Page 2 of 3




                                               Respectfully Submitted,

                                               THE MILLER LAW FIRM, P.C.

                                               /s/Angela L. Baldwin
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                                               County

Dated: May 3, 2023




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Case 2:22-cv-12951-MAG-JJCG ECF No. 45, PageID.748 Filed 05/03/23 Page 3 of 3




                           STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
JILL BABCOCK, et al.,                           Case No. 22-cv-12951
                                                Hon. Mark A. Goldsmith
       Plaintiffs,

v

STATE OF MICHIGAN, et al.,

      Defendants.
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                                 PROOF OF SERVICE

       Angela L. Baldwin certifies that on May 3, 2023, she caused to be served Notice of

Appearance of Angela L. Baldwin and this Proof of Service upon all counsel of record via

electronic filing system.

                                                      /s/ Angela L. Baldwin
                                                      Angela L. Baldwin
Dated: May 3, 2023
